              Case 4:06-cr-40019-JPG                     Document 215 Filed 11/01/06                   Page 1 of 6              Page ID
                                                                   #466
B A O 245B    (Rev. 06105) Judgment in a Criminal Case
              Sheet I




                       SOUTHERN                                  District o f                                     ILLINOIS

         UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                              v.
              HEATHER D. McDONALD
                                                                        Case Number:           4:06CR40019-007-JPG

                                                                        USM Number:            07229-025

                                                                         John Stobbs, II
                                                                        Defendant's Attorney
THE DEFENDANT:
@fpleaded guilty to count(s)
   pleaded nolo contendere to count(s)
   which was accepted by the court.
   was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offerlse                                                          Offense Ended                 Cnun(
                                                                                                   , ..I;!,? ,             ,       ., . ,
                                                                                                                                1 1 1 ,
                                                                                                                                ;
                                                                                                      r
                                                                                                       ,
                                                                                                          ,:                   ,,, !,.$,t"

                                    Intent to Distribute 500 Grams of a Mixture containing Meth



       The defendant is sentenced as provided in pages 2 through            10          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
   Count(s)                                                 is      are dismissed on the motion of the United States.

         It is ordered thal the defendant niust notify the i'n~tcdStates attorney for th~sdisulct \\,ithln 30 @ s ot'any chdnge ofname, residence,
or mallln address untll all tines, restitution, costs, and spes~alassessments inlposcd by th~sjudgment are tu6y pad. ~fdrderedto pay restitution,
the deftnsant must not~fythe court and United States anorney of material changes in economlc clrcunatanscs.




                                                                         J. Phil Gilbert                                District Judge
                                                                        Name of Judge                                  Title of Judge



                                                                        Date   z                          ,            -6
                   Case 4:06-cr-40019-JPG                   Document 215 Filed 11/01/06                     Page 2 of 6     Page ID
                                                                      #467
A 0 2458        (Rev. 06/05) Judgment in Criminal Case
                Sheet 2 - Imprisonment


 DEFENDANT: HEATHER D. McDONALD
                                                                                                            Judgment-Page   -
                                                                                                                            2 of      10

 CASE NUMBER: 4:06CR40019-007-JPG


                                                                   IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total tern of:

  121 months on Count 1 of the Indictment.




           The court makes the following recommendations to the Bureau of Prisons:

  That the defendant be placed in the Intensive Drug Treatment Program.



  $i       The defendant is remanded to the custody of the United States Marshal

      [3 The defendant shall surrender to the United States Marshal for this district:

           [7     at                                     13 a.m.         p.m      on
                  as notified by the United States Marshal.

      [7 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                  before 2 p.m. on
                  as notified by the United States Marshal.

           IJ     as notified by the Probation or Pretrial Services Office.


                                                                        RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                              to

 at                                                        , with a certified copy of this judgment.



                                                                                                          UNITED STATES MARSHAL


                                                                                BY
                                                                                                       DEPUTY UNITED STATES MARSHAL
                 Case 4:06-cr-40019-JPG                  Document 215 Filed 11/01/06                    Page 3 of 6         Page ID
                                                                   #468
A 0 2458      (Rev. 06105) Judgment in a Criminal Case
              Sheet 3 -Supervised Release


 DEFENDANT: HEATHER D. McDONALD
                                                                                                           Judgment-Page
                                                                                                                           -
                                                                                                                           3        of        10

 CASE NUMBER: 4:06CR40019-007-JPG
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :

 5 years on Count 1 of the Indictment.



      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfull possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall s u h t to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant sball not possess a fneaearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 @ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        The defendant sball register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this 'udgment imposes a fme or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of' Payments sheet of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
   1)      the defendant shall not leave the judicial district without the permission of the court or probation offlcer;
   2)      the defendant shall report to the probation officer and sball submit a truthful and complete written report within the fnst five days of
           each month,
   3)      the defendant sball answer truthfully all inquiries by the probation offlcer and follow the inshctions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation offlcer for schooling, training, or other
           acceptable reasons;
   6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, d~smbute,or admjnister any
           controlled substance or any paraphemaha related to any controlled substances, except as prescribed by a physic~an;
   8)      the defendant shall not frequent places wbere controlled substances are illegally sold, used, distributed, or administered;
   9)      the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the proiation officer;
  10)      the defendant sball pe,pit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed m plaln vlew of the probation officer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
  13)      as directed by the robation officer, the defendant shall notify,third parties of risks that may be occasioned by fhe defendant's criminal
           record or ?ersonay history or characteristics and shall pernnt the probat~onofficer to make such not~ficat~ons        and to coniirm the
           defendant s compliance with such notiticahon requirement.
            Case 4:06-cr-40019-JPG                    Document 215 Filed 11/01/06         Page 4 of 6        Page ID
A 0 2458   (Rev. 06/05) Judgment in a Criminal Case             #469
           Sheet 3C - Supervised Release

DEFENDANT: HEATHER D. McDONALD
                                                                                             Judgment-Page
                                                                                                             -
                                                                                                             4     of       I0
CASE NUMBER: 4:06CR40019-007-JPG

                                         SPECIAL CONDITIONS OF SUPERVISION
 X The defendant shall cooperate in the collection of DNA as directed by the probation officer

 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 or ten
 percent of her net monthly income, whichever is greater.

 X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

 X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, andlor any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.
 X The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
 dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
 residence andlor participation in a residential treatment facility. Any participation will require complete abstinence from all
 alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling andlor testing
 based on a co-pay sliding fee scale approved by the United States Probation Office Co-pay shall never exceed the total
 costs of counseling.

 X The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search,
 conducted by the United States Probation Officers at a reasonable time and in a reasonable manner, based upon
 reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search
 may be grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a
 search pursuant to this condition.

 X Defendant shall submit within 15 days, not to exceed 52 tests in a one years period for drug urinalysis.
                      Case 4:06-cr-40019-JPG                      Document 215 Filed 11/01/06                    Page 5 of 6           Page ID
A 0 2458           (Rev. 06/05) Judgment in a Criminal Case
                   Sheet 5 -Criminal   Monetary Penalties                   #470

DEFENDANT: HEATHER D. McDONALD
                                                                                                             Judgment-Page
                                                                                                                              -
                                                                                                                              5               of   10
CASE NCTMBER: 4:06CR40019-007-JPG
                                                       CRIMINAL MONETARY PENALTIES
        The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6

                               Assessment                                                                            Restitution
TOTALS                     $ 100.00                                                                                % 0.00


        The determination of restitution is deferred until
        after such determination.
                                                                    -. An Amended Judgment in a Criminal Case (A0 245C) will be entered
        The defendant must make restitution (including community restitution) to the following payees in the amount listed below

        If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayment, unless specified otherwise in
        the priority order or percentage payment columnxelow. However, pursuant to 18
        before the United States is pa~d.
                                                                                                     8s.8.
                                                                                                9 3664(?), all nonfederal vlctnns must be paid

Yame of Pavee                                                                                         Restitution Ordered      Priuritv or Percentaee
P
,   I   ,
             ,r
             ',"                          8,   . .                                                                                 '   ,181




TOTALS                                          $                       0.00         $                      0.00


            Restitution amount ordered pursuant to plea agreement $

            The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fme is paid in full before the
            fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(0. All of the payment options on Sheet 6 may be subject
            to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

@ The court determined that the defendant does not have the ability to pay interest and it is ordered that:
  @ the interest requirement is waived for the @ tine IJ restitution.
            I3 the interest requirement for the               IJ fine   IJ restitution is modified as follows:


* Plndmgs for the total amount of losses are re u~redunder Chapters 109A. 1 10, 1 1 OA, and 1 13h of'l'~tle18 for offenses comnuned on or atier
September 13, 1994, but before Apr1123, 199%.
A 0 245B
              Case 4:06-cr-40019-JPG                  Document 215 Filed 11/01/06                    Page 6 of 6         Page ID
           (Rev. 06/05) Judgment in a Criminal Case
           Sheet 6 -Schedule of Payments                        #471

DEFENDANT: HEATHER D. McDONALD
                                                                                                        Judgment- Page
                                                                                                                         -
                                                                                                                         6         of        10
CASE NUMBER: 4:06CR40019-007-JPG

                                                      SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A     C;d Lump sum payment of $                             due immediately, balance due

           rn not later than                                    , 01
                 in accordance           IJ C,         D,         E, or    IJ F below; or
B          Payment to begin immediately (may be combined with              C,          D, or        F below); or

C          Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D     rn Payment in equal                      (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E          Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F          Special instmctions regarding the payment of criminal monetary penalties:
            While on supervised release, the defendant shall make monthly payments in the amount of $10.00 or ten percent
            of her net monthly income, whichever is greater.




Unless the court has express1 ordered othenvise, if this judgment unposes imprisonment, a ent of criminal monetaly penalties is due durin
imprisonment. All cnminaYmoneta penalties, except those payments made throug! g ~ e d e r a Bureau  l      of Pnsons' Inmate ~ i n a n c l 8
Respons~bilityProgram, are made to %e clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

 rn The defendant shall pay the following court cost(s):
      The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restitution interest, (4) fme principal,
 (5) f i e interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecuaon and court costs.
